        Case 4:17-cr-00462-JSW Document 22 Filed 11/07/17 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                  CRIMINAL MINUTE ORDER


Date: November 7, 2017                              Time in Court: 6 minutes

Judge: Jeffrey S. White

Case No.: CR-17-00462-01 JSW
United States of America v. Job Torres Hernandez
                              Defendant
                              Present ( X ) Not Present ( ) In-Custody ( )

        Karen Kreuzkamp                             Jesse Garcia
        U.S. Attorney                               Defense Counsel

Deputy Clerk: Jennifer Ottolini              Court Reporter: Raynee Mercado


                                       PROCEEDINGS

REASON FOR HEARING: Status Conference

RESULT OF HEARING:        Counsel is directed to resubmit the stipulation/proposed order
                          for Exclusion of Time from 10-3-17 to 11-7-17, as the proposed
                          request submitted was confusing.

                          Some electronic discovery submitted to Defendant’s Counsel
                          has been found to be ‘corrupted’ and the Government is
                          attempting to rectify the problem and submit the discovery to
                          Defendant’s Counsel.




Case Continued to 2-13-18 at 1:00 pm for Further Status




TIME EXCLUDABLE PURSUANT TO 18 U.S.C. § 3161 - stipulation/proposed order to be submitted
